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EASTERN DIVISION /»_;€; § _. /,;Q:p,
..t»‘:/M 5_’; r;' qth

IN RE: Motion to Quash Subpoena
Served upon Martin Industrial
Supply Company, Inc.,

 

Non-Party Movant,

ELECTROLUX HOME PROI)UCTS,
INC.,

Plaintiff,
No. 05-1007 TfAn

VS.

WHITESELL CORPORATION,

\_/\.'¢`\-/\-/\_/\_JV\_/\_/\_/V\_/\_/\_/"_/\_/

Defendant.

 

ORDER DENYING MOTION TO QUASH

 

Before the Court is the Non-Party Movant’s Motion to Quash a Deposition Subpoena
filed on July 28, 2005. Mr. D. Christopher Carson of Burr & Furman, who represents Non-Party
Movant Martin lndustrial Supply Co., has informed the Court that the parties have tentatively
resolved this di spute. Therefore, the Court’s intervention is no longer required, and the instant
motion is DENIED as moot.

IT IS SO ORI)ERED.

<“Q.WAs JALM._)

S, THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: £¢31,43(" /¢Qi 2005

This document entered on the docket sheet In comptlance
with Rule 58 and,’or_79 (a) FRCP on

   

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This notice confirms a copy of the document docketed as number 4 in
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August 15, 2005 to the parties listed.

 

 

D. Christopher Carson
BURR & FORMAN

3100 South Trust ToWer
420 N. 20th St.

Birmingham, AL 35283--071

Honorable J ames Todd
US DISTRICT COURT

